This is an appeal from the judgment of the Court of Tax Review dismissing the protest of the First National Bank of Enid, Okla., against the application of a legal rate of ad valorem tax levy fixed by the excise board of Garfield county, Okla., to the property of the protestant. The Court of Tax Review dismissed the protest on the ground that that court was without jurisdiction to determine the issue presented.
The protestant contends that the rate of levy fixed by the excise board of Garfield county for ad valorem tax purposes could not be lawfully applied to its property because the rate so fixed was excessive and in violation of section 5219, Rev. Stat. of the United States, as amended by the Act of March 4, 1923, and section 9607, C. O. S. 1921.
The issue presented was determined by this court in Protest of First Nat. Bank of Guthrie, 136 Okla. 141, 276 P. 766, wherein this court held that the Court of Tax Review has no jurisdiction to review the application of a legal rate of ad valorem tax levy to specific property or to determine whether or not specific property is subject thereto. That decision is controlling.
The judgment of the Court of Tax Review is affirmed.
LESTER, V. C. J., and CLARK, RILEY, HEFNER, CULLISON, and SWINDALL, JJ., concur. MASON, C. J., and HUNT, J., absent.
Note. See "Taxation," 37 Cyc. p. 1087, n. 46. *Page 116 